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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

   PEOPLE OF THE STATE OF NEW
   YORK, by Letitia James, Attorney
   General of the State of New York,                  CIVIL ACTION NO. 21-cv-322

                         Plaintiff,
                                                       COMPLAINT FOR DECLARATORY
               v.                                      AND INJUNCTIVE RELIEF

   CITY OF NEW YORK, MAYOR
   BILL DE BLASIO, POLICE
   COMMISSIONER DERMOT F.
   SHEA, and CHIEF OF
   DEPARTMENT TERENCE A.
   MONAHAN,

                         Defendants.



                                PRELIMINARY STATEMENT

        1.      The People of the State of New York, by their Attorney General, Letitia James,

bring this action to end the pervasive use of excessive force and false arrests by the New York City

Police Department (NYPD) against New Yorkers in suppressing overwhelmingly peaceful

protests.

        2.      Beginning in May 2020, thousands of New Yorkers participated in protests across

New York City (“New York Residents”) to bring attention to police brutality against Black people,

the police killings of George Floyd in Minnesota and Breonna Taylor in Kentucky, police

accountability, and racial injustice (the “2020 Racial Justice Protests” or “Protests”). These

protests are ongoing.

        3.      From May 28, 2020 to December 11, 2020, NYPD Officers of various ranks

(“NYPD Officers”) repeatedly and without justification used batons, fist strikes, pepper spray, and
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other physical force against New York Residents at the Protests. Protesters—many of whom were

never charged with any crime and were merely exercising their First Amendment rights—suffered

concussions, broken bones, cuts, bruises, and other physical injuries.

       4.      NYPD Officers also arrested legal observers, medics, and other workers performing

essential services without probable cause and used a crowd-control tactic called “kettling” to corral

and detain individuals who were peacefully protesting in order to impede constitutionally-

protected assemblies and to conduct mass arrests.

       5.      The unlawful policing practices Officers engaged in at these Protests are not new.

Instead, they are the latest manifestation of the NYPD’s unconstitutional policing practices. For at

least the last two decades, the NYPD has engaged in the same unlawful excessive force and false

arrest practices while policing large-scale protests. This misconduct is widely documented in prior

lawsuits, complaints, and reports.

       6.      Even though these practices were well-known before the 2020 Racial Justice

Protests began, Defendants failed to train officers in policing protests to correct and prevent this

misconduct—a failure that Defendants have now openly admitted following the release of public

reports by the City’s Department of Investigation and Corporation Counsel about NYPD’s conduct

during the Protests.

       7.      When Defendants, starting in May 2020, chose to dispatch thousands of

inadequately trained officers to large-scale protests challenging police conduct and authority, the

results were predictable: mass arrests, excessive force, and other unlawful efforts to suppress the

Protests.

       8.      These practices, which violate New York Residents’ rights under the federal and

state constitutions and state common law, have caused significant harm to New York Residents.




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While many aggrieved protesters have sought monetary relief to remedy their injuries, this suit

seeks solely declaratory and injunctive relief—relief that is imperative to ending NYPD’s decades-

long, unlawful practices in policing protests.

                                 JURISDICTION AND VENUE

       9.       This action is brought pursuant to 42 U.S.C. §§ 1983 and 1988, seeking redress for

violations of the First, Fourth, and Fourteenth Amendments of the United States Constitution,

parallel New York State constitutional provisions, and state common law.

       10.      This Court has subject matter jurisdiction over Plaintiff’s federal claims pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(3–4), and over Plaintiff’s state law claims pursuant to 28 U.S.C.

§ 1367(a).

       11.      This Court has the authority to confer the declaratory and injunctive relief Plaintiff

seeks under 28 U.S.C. §§ 2201 and 2202, 42 U.S.C. § 1983, and under Rule 57 of the Federal

Rules of Civil Procedure.

       12.      Venue is proper pursuant to 28 U.S.C. § 1391(b) in that a substantial part of the

events giving rise to Plaintiff’s claims arose in the Southern District of New York.

                                             PARTIES
       13.      Plaintiff, the People of the State of New York, represented by and through their

Attorney General, Letitia James, is a sovereign state of the United States of America. The Attorney

General is New York State’s chief law enforcement officer and is authorized to pursue this action

pursuant to Executive Law § 63(1) and parens patriae doctrine.

       14.      Where, as here, the interests in the health and well-being of the People of the State

of New York as a whole are implicated, the Office of the Attorney General (OAG) possesses

parens patriae standing to commence legal action against Defendants to stop their unlawful

practices.


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        15.     The OAG has a quasi-sovereign interest in the health and well-being of the People

of the State of New York, particularly as to unconstitutional policing practices that have harmed,

and are likely to continue harming, New York residents in the manner set forth in this Complaint.

People ex rel. Spitzer v. Grasso, 11 N.Y.3d 64, 69 n.4 (2008) (citing Alfred L. Snapp & Son, Inc.

v. Puerto Rico ex rel. Barez, 458 U.S. 592, 607 (1982)) (parens patriae standing “permits the state

to commence an action to protect a public interest, like the safety, health or welfare of its citizens”).

        16.     The OAG has a “unique status as the representative of the greater public good and

[a] concomitant mandate to secure wide-ranging relief that will inure to the direct and indirect

benefit of the broader community.” New York v. Utica City Sch. Dist., 177 F. Supp. 3d 739, 753–

54 (N.D.N.Y. 2016); see also People ex rel. Cuomo v. Liberty Mut. Ins. Co., 52 A.D.3d 378, 379

(N.Y. App. Div. 1st Dep’t 2008) (“The State has inherent authority to act in a parens patriae

capacity when it suffers an injury to a quasi-sovereign interest apart from the interests of particular

private parties.” (internal citation omitted)). The OAG seeks comprehensive prospective relief to

end the City’s unconstitutional and unlawful policies, practices and/or customs and ensure that

they do not continue in the future.

        17.     Defendant City of New York (“City”) is a municipal corporation organized and

existing under the laws of the State of New York and maintains its principal office in the County

of New York. The NYPD is an agency of the City charged with law enforcement.

        18.     Defendant Bill de Blasio was at all times relevant to this Complaint the mayor of

the City of New York and chief policymaking official with respect to City policy generally,

including NYPD policy. He is sued in his individual and official capacities.

        19.     Defendant Dermot F. Shea was at all times relevant to this Complaint the New York

City police commissioner, who has final policymaking authority with respect to the NYPD and




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responsibility for the hiring, screening, training, retention, supervision, discipline, counseling and

control of the police officers under his command who are or were employed by the NYPD. He is

sued in his individual and official capacities.

         20.      Defendant Terence A. Monahan was at all times relevant to this Complaint the

Chief of Department for the NYPD. As the highest-ranking uniformed officer of the NYPD, Chief

Monahan has been delegated final policymaking authority with respect to NYPD policies,

including, but not limited to, those related to management of protests, use of force, and arrests. He

is sued in his individual and official capacities.

                                        FACTUAL BACKGROUND

        I.       The NYPD’s Aggressive Response to Prior Protests.

         21.      The NYPD’s unconstitutional response to the 2020 Racial Justice Protests is part

of its long history of aggressively policing protests.

         22.      Following a 2003 anti-war protest, an investigation by the New York Civil Liberties

Union (NYCLU) documented 198 accounts of excessive force by NYPD Officers, including the

use of horses and batons to disperse crowds as well as indiscriminate pepper spraying. This

investigation also documented the use of crowd control tactics such as physically preventing

demonstrators from reaching their rally location, herding protesters into pens fashioned from metal

barricades, and mass arrests.1

         23.      NYCLU documented similar unconstitutional practices at protests of the 2004

Republican National Convention (“RNC”). NYCLU received over 200 complaints from witnesses

at the RNC protests and published a report finding that the NYPD “severely undermined”



1
          N.Y.          Civil           Liberties         Union,         Arresting   Protest   (2003),
https://www.nyclu.org/sites/default/files/nyclu_arresting_protest.pdf.




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protesters’ rights in part through, inter alia, “mass arrests of hundreds of peaceful demonstrators

and bystanders” and “the pervasive surveillance of lawful demonstrators.”2

        24.      In 2006, the Civilian Complaint Review Board (“CCRB”), an independent NYPD

oversight agency, published its own findings regarding the RNC protests following an

investigation of 63 complaints. The Board found that then-Deputy Chief Monahan and another

deputy chief failed to make their orders to disperse sufficiently audible, understandable, or with

enough time to allow protesters to leave before effecting arrests, resulting in the mass arrest of

nearly 250 protesters.

        25.      Following large-scale demonstrations in downtown Manhattan in 2011, known as

the “Occupy Wall Street” protests, the Protest and Assembly Rights Project issued a 2012 report

detailing 130 complaints of excessive or unnecessary force against protesters, bystanders, lawyers,

legal observers, and journalists. These claims included over a dozen instances where officers

interfered with independent monitoring by journalists and legal observers by threatening to or in

fact arresting them, and the repeated use of kettling against peaceful protesters, which “inflamed

tensions,” “caused confusion and panic,” and “chilled ongoing and future protest activity.”3

        26.      Numerous lawsuits were filed against the NYPD following the 2003 anti-war

protest, 2004 RNC protests, and 2011 Occupy Wall Street protests. These suits alleged, inter alia,

that the NYPD: used unnecessary and excessive force against peaceful protesters, bystanders, legal




2
       N.Y.         Civil      Liberties        Union,          Rights      and       Wrongs        at    the
RNC (2005), https://www.nyclu.org/sites/default/files/publications/nyclu_pub_rights_wrongs_rnc.pdf.
3
 Protest & Assembly Rights Proj., Suppressing Protest: Human Rights Violations in the U.S. Response to Occupy
Wall Street (2012), https://cdn.theatlantic.com/static/mt/assets/politics/Suppressing%20Protest.pdf.




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observers, and journalists; 4 unjustifiably detained and kettled protesters; effected unlawful and

mass arrests without probable cause; and suppressed protected First Amendment activities.5

        27.      In October 2015, the NYPD Office of the Inspector General (NYPD-OIG) issued a

report assessing the NYPD’s use of force, finding that its “use-of-force policy was vague and

imprecise, providing little guidance to individual officers on what actions constitute force and

providing insufficient instruction on de-escalation”; that the “NYPD’s training programs did not

adequately focus on de-escalation”; and that the “NYPD frequently failed to impose discipline

even when provided with evidence of excessive force.”

        28.      Between 2013 and 2019, the CCRB substantiated numerous complaints that NYPD

Officers used excessive force in violation of NYPD’s use of force policy, including: 30 allegations

involving pepper spray; 17 involving batons; 38 involving body strikes or physical force; and 10

involving hits against an inanimate object. In total, the CCRB substantiated 471 allegations of

excessive force during this period against NYPD Officers who were still employed with the agency

as of June 2020. Since 2003, the CCRB substantiated 730 excessive force allegations against

NYPD Officers who were still employed with the agency as of June 2020.



4
  See e.g., Tardif v. City of New York, 344 F. Supp. 3d 579, 589 (S.D.N.Y. 2018); Brown v. City of New York, 798
F.3d 94, 97 (2d Cir. 2015); Abujayyab v. City of New York, No. 15 CIV. 10080 (NRB), 2018 WL 3978122, at *9
(S.D.N.Y. Aug. 20, 2018); Dekuyper v. City of New York, No. 14CV8249 (DLC), 2016 WL 7335662, at *3 (S.D.N.Y.
Dec. 16, 2016); Marlin v. City of New York, No. 15-cv-2235 (CM), 2016 WL 4939371, at *13 (S.D.N.Y. Sept. 7,
2016); Caravalho v. City of New York, No. 13-cv-4174 (PKC)(MHD), 2016 WL 1274575, at *12 (S.D.N.Y. Mar. 31,
2016); Pesola v. City of New York, No. 15-cv-1917 (PKC)(SN), 2016 WL 1267797, at *7 (S.D.N.Y. Mar. 30, 2016);
Pluma v. City of New York, No. 13-cv-2017 (LAP), 2015 WL 1623828, at *6 (S.D.N.Y. Mar. 31, 2015); Douglas v.
City of New York, No. 14-cv-8124 (S.D.N.Y.); Long v. City of New York, 09-cv-9216 (AKH) (S.D.N.Y.); Kunstler v.
City of New York, No. 04-cv-01145 (S.D.N.Y.).
5
 See Lynch v. City of New York, 952 F.3d 67, 76 (2d Cir. 2020); Landers v. City of New York, No. 16-CV-5176
(PKC)(CLP), 2019 WL 1317382, at *6–7 (E.D.N.Y. Mar. 22, 2019); Case v. City of New York, 233 F. Supp. 3d 372,
405 (S.D.N.Y. 2017); Higginbotham v. City of New York, 105 F. Supp. 3d 369, 375 (S.D.N.Y. 2015); Gersbacher v.
City of New York, 134 F. Supp. 3d 711, 721 (S.D.N.Y. 2015); Dinler v. City of New York, No. 04-cv-7921
(RJS)(JCF), 2012 WL 4513352, at *10 (S.D.N.Y. Sept. 30, 2012); Osterhoudt v. City of New York, No. 10-cv-3173,
2012 WL 4481927, at *1–2 (E.D.N.Y. Sept. 27, 2012); Mandal v. City of New York, Nos. Civ. 1234, 02 Civ. 1367,
2007 WL 3376897, at *2 (S.D.N.Y. Nov. 13, 2007); MacNamara v. City of New York , No. 04-cv-9216, 2007 WL
3196295, at *1 (S.D.N.Y. Oct. 30, 2007).


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          29.   Despite repeated notice about the NYPD’s shortcomings in lawfully managing

protests and the NYPD-OIG’s own report on training deficiencies in connection with the use of

force, the City’s recent conduct demonstrates that it failed to correct these practices and adequately

train its officers on constitutional policing during a protest. Consequently, the NYPD continued to

fail New York Residents by responding to the Protests unlawfully and will continue to do so unless

abated.

      II.       New York Residents Participate in the 2020 Racial Justice Protests.

          30.   On May 25, 2020, police officers in Minneapolis, Minnesota, killed George Floyd,

an unarmed Black man accused of a minor, nonviolent crime.

          31.   Shortly before Floyd’s death, on March 13, 2020, police officers in Louisville,

Kentucky, while executing a no-knock warrant, shot and killed Breonna Taylor, an unarmed Black

woman.

          32.   These deaths, the most recent in a steady string of police killings of unarmed Black

people, triggered a wave of national protests under the banner of the Black Lives Matter (BLM)

movement, which condemns systemic racism and anti-Black police violence.

          33.   Large-scale protests in New York City began on May 28, 2020 and occurred on a

near-daily basis through early June at multiple sites in each borough of New York City. Protests

have continued on a smaller scale since then. In all, thousands of New Yorkers, including many

from across the State, participated.

          34.   Although there were instances of property damage and injuries to NYPD Officers

at or near some of these early protests, the vast majority of the Protests were peaceful.

Commissioner Shea acknowledged that those New Yorkers in attendance “overwhelmingly [] are




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good people coming out to voice their opinion.” Chief Monahan also admitted in a public statement

that, “the vast majority of people are out there to express their views.”

       35.     In response to these largely peaceful Protests, NYPD Officers effected mass arrests

without probable cause, unjustifiably deployed pepper spray, batons, and other force against

protesters, and targeted and retaliated against First Amendment activity so frequently and

pervasively as to constitute customs or usages of the NYPD.

       36.     On the first day of the Protests, May 28, over one hundred protesters assembled in

Union Square in Manhattan. A contingent later marched down Lafayette Street in Manhattan

towards City Hall. Over 70 protesters were arrested.

       37.     On May 29, hundreds of protesters proceeded from Foley Square in Manhattan over

the Brooklyn Bridge to the Barclays Center arena in Brooklyn, where thousands gathered by

nightfall. At least 204 protesters were arrested in Manhattan and Brooklyn, mostly following

violent encounters, some of which were initiated by NYPD Officers in the Clinton Hill, Fort

Greene, and Bedford-Stuyvesant neighborhoods of Central Brooklyn.

       38.     On May 30, there were protests throughout Manhattan and in Jackson Heights in

Queens, Park Slope and Flatbush in Brooklyn, and portions of the Bronx and Staten Island.

Collectively, at least 321 protesters were arrested following encounters with NYPD Officers in

Union Square, Flatbush, and Park Slope.

       39.     On May 31, protests throughout the city continued, with thousands marching from

the Barclays Center over the Manhattan Bridge into Lower Manhattan, near the Williamsburg

Bridge, and in Times Square and Midtown. At least 325 protesters were arrested.

       40.     On, June 1, Mayor de Blasio issued Emergency Executive Order 117, imposing an

11:00 p.m. curfew for New York City. The Mayor subsequently expanded the nightly curfew to




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begin at 8:00 p.m. on June 2 and end at 5:00 a.m. on June 8. These Curfew Orders exempted

“essential workers” and directed that people in violation of the curfew be “order[ed] to disburse

[sic]” before being arrested. Nevertheless, during the period when the Curfew Orders were in

effect, Officers routinely disregarded these two provisions and arrested essential workers exempt

from the executive order and protesters without the required prior orders to disperse. On June 1,

the first night the curfew was in effect, NYPD Officers arrested at least 308 protesters in Manhattan

at Times Square, the East Village, and Union Square Park; in Brooklyn at the Barclays Center and

Bay Ridge; and in Queens at Astoria Park and in Flushing.

       41.     On June 2, demonstrations occurred at multiple locations throughout Manhattan.

Protesters encountered NYPD Officers in Lower Manhattan, the Upper West Side, Astor Place,

Chelsea, and Midtown. More than 290 protesters were arrested at these locations.

       42.     On June 3, protests occurred in Cadman Plaza and Maria Hernandez Park in

Brooklyn, Midtown East, and the Upper East Side near Gracie Mansion, and at least 191 protesters

were arrested following encounters with NYPD Officers.

       43.     On June 4, protests occurred in Mott Haven in the Bronx, where NYPD Officers

detained and arrested over 250 people as soon as the curfew took effect. Among those detained

without probable cause were non-protesters serving as legal observers, medics, and other essential

workers exempt from the curfew order.

       44.     On June 5, protests continued, including in the Brooklyn neighborhoods of Crown

Heights and Sunset Park, Staten Island, and near Gracie Mansion; at least 41 people were arrested.

       45.     From June 6 through the end of June, protests continued, largely without violence

or mass arrests. But a number of times since then, the NYPD has repeated its pattern of responding

to racial justice and related protests with gratuitous force.




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       46.     On June 28, 2020, several thousand protesters took part in the Queer Liberation

March for Black Lives & Against Police Brutality starting in Foley Square and ending at the

Stonewall Inn. At Washington Square Park, this group encountered hundreds of NYPD Officers

who initiated a violent response, pushing and pepper spraying peaceful protesters.

       47.     On September 11, 2020, dozens of NYPD Officers surrounded McCarren Park in

Brooklyn and advanced on and shoved mourners at a peaceful vigil being held there for Sarah

Pitts, a prosecutor and BLM supporter who was fatally struck by a bus.

       48.     On September 26, 2020, hundreds of NYPD Officers disrupted and confiscated the

property of a small group of BLM protesters gathered in Washington Square Park, Manhattan.

When protesters attempted to retrieve their property from the nearby Sixth Precinct stationhouse,

NYPD Officers ordered them to leave the area and, without provocation, charged into the

protesters and knocked some of them to the ground and into nearby outdoor dining patrons.

       49.     On October 7, 2020, NYPD Officers surrounded and arrested protesters gathered

in Bedford-Stuyvesant in Brooklyn to protest the arrest of BLM activist Nia Peterson, who had

been arrested without provocation for filming NYPD Officers standing on the street.

       50.     Following the presidential election, on November 4, protesters gathered in

Washington Square Park in Manhattan, calling for police reform to continue regardless of the

outcome of the election and began to march peacefully around 7:45 p.m. Within approximately

thirty minutes, NYPD Officers kettled protesters on West 8th Street and on Greenwich Avenue

and forcefully arrested protesters and volunteer medics. NYPD Officers also kettled and arrested

protesters who had marched without incident from Central Park to Union Square.




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        51.      On November 5, NYPD Officers confronted the “We Choose Freedom” protest,

organized by BLM- and trans-rights organizers to march from the Stonewall Inn to Union Square,

briefly detaining a group of marchers in the NoLita neighborhood of Manhattan.

        52.      On December 11, Abolition Park, one of the BLM organizers of summer protests,

co-led a small group of approximately 30 tenant advocates in and around the Downtown Brooklyn

office of a real estate attorney known for representing landlords. Approximately 50 NYPD Officers

were present. Of these, a group of NYPD Officers prevented 19 advocates from complying with

any order to leave the premises by blocking their exit and arresting them. Outside of the building,

officers shoved advocates against mailboxes and scaffolding as they arrested one of the protesters.

        53.      BLM activists and other protesters continue to participate in peaceful civil

demonstrations in support of racial justice and against police violence in New York City.

       III.     The City Failed to Prevent or Correct the NYPD’s Unconstitutional Policing
                Practices Used at the 2020 Racial Justice Protests.

        54.      Prior to and during the Protests, Defendants failed to adequately train, supervise,

and discipline NYPD Officers to prevent the violation of 2020 Racial Justice Protest attendees’

constitutional rights.

        55.      Despite public reports, lawsuits, and other complaints about the NYPD’s conduct

in policing protests since 2003, the NYPD failed to provide adequate training to officers on

constitutional policing in this context and failed to develop relevant policies to ensure that the

unlawful conduct observed during prior protests ceased.

        56.      As the NYC-DOI concluded in a recent report, prior to the Protests, the NYPD

lacked standardized, agency-wide, in-service training related to policing protests.6


6
 New York City Department of Investigations, Investigation into NYPD Response to the George Floyd Protests (Dec.
2020),



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        57.     Further, as a December 2020 report by the NYC Corporation Counsel uncovered,

the NYPD failed to conduct “any protest-related after action-review” between at least the 2004

RNC protests and the 2020 Racial Justice Protests.7

        58.     Additionally, as the NYC-DOI concluded, the NYPD’s Patrol Guide does not

include a specific policy on policing protests or safeguarding peaceful assemblies that would direct

officers on how to conduct themselves under these circumstances.

        59.     NYPD leadership admitted that it failed to prepare NYPD Officers for the Protests.

Chief Monahan knew that “[a] lot of cops had not received disorder trainings since they first came

on the job.”

        60.     Defendants knew that NYPD Officers would confront demonstrations protesting

police brutality, that NYPD Officers have previously mishandled such demonstrations using

excessive force and arrests lacking probable cause, and that without intervention or sufficient

training, NYPD Officers would again rely on similar tactics. Nevertheless, Defendants knowingly

deployed thousands of insufficiently trained NYPD Officers to police the Protests.

        61.     This failure predictably led to constitutional violations. As NYPD’s Chief of Patrol

in October 2020 stated about the Protests: “[i]f [the officers] [saw] something that they perceived

to be a violation of the law, they arrested that person, not realizing that protests are allowed—that

peaceful protests are allowed.” She further admitted that “we had officers that did things that never

should have been done; that’s not in alignment with what we stand for as agency.”




https://www1.nyc.gov/assets/doi/reports/pdf/2020/DOIRpt.NYPD%20Reponse.%20GeorgeFloyd%20Protests.12.18
.2020.pdf.
7
      New    York      City     Law    Department,     Corporation    Counsel   Report   (Dec.   2020),
https://www1.nyc.gov/assets/law/downloads/pdf/ProtestReport-np.pdf.



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       62.     Further compounding the error of deploying thousands of inadequately trained

officers, Defendants also deployed officers from the Strategic Response Group (“SRG”) to respond

to the protests. SRG is a specialized unit trained to respond to major disorder control events, such

as riots, and engage in counter-terrorism efforts.

       63.     SRG officers are trained to use crowd control techniques and strategies, such as

kettling, mass arrests, and the deployment of bicycle squads to perform disorder control.

       64.     SRG routinely relied on these tactics when responding to the peaceful Protests.

       65.     As the Protests unfolded, Defendants also knew about, but allowed, the unlawful

practices to continue.

       66.     On information and belief, Mayor de Blasio and Commissioner Shea received

regular reports from Chief Monahan and other NYPD officials responsible for implementing the

City’s response to the Protests.

       67.     On information and belief, Mayor de Blasio, Commissioner Shea, and Chief

Monahan regularly reviewed media reports documenting patterns of police misconduct, including

excessive force, unlawful seizures and other First-Amendment violations, in response to the

Protests. Throughout the Protests, the Mayor and police leadership, on information and belief,

were aware of persistent NYPD actions to violently suppress the Protests through media reports;

the CCRB’s public hearing; reports from staff, including the NYPD Internal Affairs Bureau and

the Mayor’s Community Affairs Unit; regular interactions with other NYPD leaders; and

testimony collected, and a report published, by the OAG.

       68.     Despite their awareness of these practices, the Mayor, Commissioner Shea, Chief

Monahan, and NYPD borough commanders who were delegated final decision-making authority

deliberately failed to prevent NYPD Officers from using these tactics.




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       69.     Upon information and belief, they also failed to discipline all NYPD Officers who

engaged in misconduct during the Protests.

       70.     Their inaction to address these patterns constitute a City policy or custom to engage

in excessive force, unlawfully seize protest attendees, and suppress First Amendment-protected

activities by using such tactics at protests and retaliating against people engaged in their

constitutionally protected rights to protest and observe and report police activity.

       71.     Although NYPD instituted new training in “disorder control” after the bulk of the

2020 Racial Justice Protests, between July and October 2020, that training focused on Officers’

physical formations during demonstrations that served only to reinforce the use of kettling and did

nothing to address the practice of excessive force against protesters.

       72.     As the NYC-DOI concluded, the new training had “no discernable reference to

managing interactions, facilitating First Amendment rights, and minimizing the use of force.”

       73.     This reinvigorated focus on trapping and arresting protesters resulted in a continued

pattern of excessive force and false arrests at protests in November and December.

       74.     The NYC-DOI’s December 2020 report additionally found that the “NYPD’s use

of force on protesters—encirclement (commonly called ‘kettling’), mass arrests, baton and pepper

spray use, and other tactics—reflected a failure to calibrate an appropriate balance between valid

public safety or officer safety interests and the rights of protesters to assemble and express their

views.” The result was a pattern of excessive force and abuse of authority, which the NYC-DOI

attributed to the NYPD’s “errors or omissions.”

       75.     In a December 18, 2020 video statement posted on social media, Mayor de Blasio

acknowledged that he “agree[d] with [the NYC-DOI’s] analysis” and with its recommendations.

He confirmed that Commissioner Shea also agreed. He further admitted that “there were things




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that happened that were not about whether someone made the individual mistake, there were

choices made, strategic choices, that weren’t good choices it turns out; that end up causing

problems. And we have to come to grips with that. We have to train our police force differently.”

       IV.     The NYPD Continued its Custom of Using Unjustified Force at the 2020 Racial
               Justice Protests.

        76.     NYPD Officers continued the NYPD’s practice of using excessive force against

peaceful protesters at the Protests.

        77.     NYPD Officers applied excessive force in myriad ways at the Protests, including

with batons, bicycles, Oleoresin Capsicum (O.C.) spray (also known as pepper spray), body

strikes, overly tight zip-ties, cars, and Tasers.

        78.     Such excessive force complaints formed the majority of the 1,646 allegations of

police misconduct occurring between May 28 and June 20, 2020 that were reported to the CCRB.

        79.     NYPD Officers repeatedly violated New York Residents’ constitutional rights and

applicable NYPD policies regarding the use of force by using force against non-resisting or

passively resisting individuals.

        80.     Defendants knew or should have known that NYPD Officers had a practice of using

unconstitutionally excessive force to control and disperse protests yet did not enforce its policies

to end that practice.

        81.     Upon information and belief, Defendants have not disciplined the vast majority of

NYPD Officers who used excessive force against Protest attendees.

                NYPD Officers Dangerously and Indiscriminately Wielded Batons and Bicycles.

        82.     Throughout the Protests, NYPD Officers engaged in a pattern of indiscriminately

striking protesters using blunt instruments, including batons and bicycles, without provocation or




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justification. At times, NYPD Officers, aiming batons at protesters’ heads, struck with potentially

deadly force.

          83.   The NYPD’s Use of Force Policy, Patrol Guide Procedure Number 221-02,

provides that police officers must, prior to using force, attempt to de-escalate, meaning to “stabilize

the situation and reduce the immediacy of the threat . . . to reduce or eliminate the necessity to use

force.”

          84.   The policy further instructs NYPD Officers to “advise the offender that physical

force or other devices (e.g., O.C. pepper spray, shield, baton/asp, etc.) will be used to

handcuff/restrain him/her before applying such force, if appropriate” and if de-escalation efforts

fail.

          85.   The NYPD Use of Force Policy prohibits use of batons on persons who are

“passively resisting,” such as failing to comply with a lawful command.

          86.   At least 50 times during the Protests, in violation of the NYPD Use of Force Policy

and constitutional protections, NYPD Officers indiscriminately and unreasonably struck protesters

with blunt instruments without provocation or justification.

          87.   Below are representative examples of this unlawful practice:

Hannah Lillevoy

          88.   Hannah Lillevoy participated in a May 28 protest at Union Square.

          89.   During the protest, a line of NYPD Officers formed a barrier with their bicycles

across from approximately thirty to forty protesters gathered on the sidewalk along Broadway,

chanting and filming the police.

          90.   When a protester stepped off the curb, three NYPD Officers repeatedly rammed the

frames of their bicycles into protesters standing on the sidewalk, pushing Lillevoy onto and over




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a concrete barrier on the sidewalk. As this happened, the front wheel of the bicycle dragged across

the back of her head and arm. Below are images from the encounter:




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         91.    The protesters rammed by the bicycles did not present any threat of harm to the

NYPD Officers or others, were not resisting or evading arrest, and were not charged with any

crime.

         92.    The bicycle ramming caused the protesters, including Lillevoy, to suffer bruising,

scratches, and pain.

Patricia Delfin
         93.    On May 29, Patricia Delfin joined a protest moving through the Clinton Hill

neighborhood of Brooklyn at approximately 9:30 p.m.

         94.    When a wall of NYPD Officers on Classon Avenue blocked Delfin and fellow

protesters, they stood stationary, chanting about George Floyd and Breonna Taylor for

approximately fifteen minutes.

         95.    Then, without warning, NYPD Officers charged towards the protesters,

compressing the crowd and pushing Delfin towards the line of officers. After tightening their

formation, the officers again charged without warning into the crowd.

         96.    Without provocation or justification, an NYPD Officer hit Delfin’s face with a

baton held horizontally, causing her to bleed profusely from her forehead and into her facemask.

         97.    The onslaught of retreating protesters and advancing NYPD Officers then quickly

swept Delfin back against a parked car, which she rolled off of and onto the sidewalk.

         98.    Neither the Officer who hit Delfin nor any other Officer sought or provided medical

attention for Delfin’s wound. Instead, the only assistance Officers provided was to instruct her to

go to a nearby hospital.

         99.    Delfin was not arrested or charged with a crime.

         100.   Delfin received five stitches to close the gash on her forehead. She was diagnosed

with a concussion and experienced post-concussive symptoms—including headaches blurred


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vision, nausea, memory loss, confusion, and dizziness. Delfin also experienced fear and emotional

distress from the attack.

Kerry Leigh Pittenger
       101.    That same night in Bedford-Stuyvesant in Brooklyn, Kerry Leigh Pittenger joined

a group of protesters chanting and walking towards the Herbert von King Park. Pittinger left the

protest, but then returned when she saw Officers become more aggressive towards the protesters.

       102.    Later, as Pittenger stood peacefully with other protesters on the sidewalk across

from a mass of NYPD Officers three-lines deep who had formed on the street and began smacking

their batons in their hands to threaten protesters.

       103.    Without warning, provocation, or justification, NYPD Officers then charged

towards the protesters, pushing Pittenger to the ground.

       104.    As she lay on the ground, another NYPD Officer swung a baton overhead and hit

Pittenger’s head, causing a laceration approximately two inches wide on her forehead that bled

profusely down her face.

       105.    This is a photograph of Pittenger after the strike:




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        106.    The NYPD Officer who hit Pittenger did not seek or provide medical attention for

Pittenger’s injuries.

        107.    Pittenger was not arrested or charged with a crime.

        108.    The attack caused Pittenger to experience anxiety and stress when she later returned

to Herbert von King Park, which is situated across from the 79th Precinct stationhouse.

        109.    When Pittenger attempted to attend a subsequent protest, the sight of the police

officers there triggered the same fear of police violence she experienced because of the May 29

attack, causing her to leave the protest and not attend any other demonstration in 2020.

Huascar Benoit
        110.    During the early morning of May 31, Huascar Benoit filmed NYPD Officers

occupying Dekalb and Flatbush Avenues.

        111.    Without warning, provocation, or justification, NYPD Officers in riot gear charged

towards Benoit, pushed him back towards a nearby subway station entrance, and hit him with

batons on the right side of his face and elsewhere on his body.

        112.    Benoit was not arrested or charged with a crime.

        113.    Although Benoit was visibly bloodied and disoriented after the attack, no NYPD

Officer sought or provided medical attention to him.




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          114.   Because of the beating, Benoit suffered a fractured eye socket (known as orbital

blowout), scrapes, bruises, emotional distress and long-term damage to his eye.

Lawrence Schober
          115.   On May 31, Lawrence Schober joined in a peaceful march north on Broadway

toward East 11th Street in Manhattan.

          116.   A line of NYPD Officers in riot gear blocked the marchers’ path and ordered

everyone to disperse.

          117.   NYPD Officers then charged into the crowd, striking protesters with shields and

batons.

          118.   Two charging officers grabbed Schober out of the crowd and, without provocation

or justification, shoved him to the sidewalk and then hit him three times with a baton.

          119.   Schober was not arrested or charged with a crime.

          120.   The beating fractured Schober’s humerus bone and damaged his ulnar nerve.

Brian Anderson
          121.   On May 29, Brian Anderson was observing and listening to a peaceful protest

across from the 79th Precinct stationhouse. About twice as many NYPD Officers as protesters

were present and suddenly, without provocation or prior warning, the officers charged into the

protesters, brandishing their batons and screaming at the crowd to disperse.

          122.   As Anderson walked away, attempting to comply with the officers’ directive,

NYPD Officers knocked him onto the ground and struck him at least 12 times with their batons.

An NYPD Officer then pulled him to his feet and pushed him forward. Anderson continued

walking, but then NYPD Officers again tackled him to the ground, causing his head to slam into

the pavement. NYPD Officers kicked and struck him with batons. An officer’s boot ripped out a




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lock of Anderson’s hair. All of the force used against Anderson was without provocation or

justification.

        123.     NYPD Officers then wrongly handcuffed and detained Anderson for approximately

20 hours before he was released and told that the charges against him had been dropped.

Luke Hanna
        124.     On the night of June 3, Luke Hanna participated in a protest at Cadman Plaza in

Brooklyn.

        125.     While complying with a police directive to disperse from the protest, an NYPD

Officer struck the back of Hanna’s head with a baton without provocation or justification

        126.     The baton strike caused a gash on Hanna’s head that required ten staples to close,

shown in the photograph below, and caused him to suffer pain and emotional distress.




        127.     Neither the Officer who hit Hanna nor any other Officer sought or provided medical

attention for Hanna’s wound.

        128.     Hanna was not arrested or charged with a crime.

Mott Haven Baton Strikes




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        129.    On June 4 in Mott Haven, NYPD Officers, including at least one supervisor, sat on

top of a parked car. Beneath them stood a large group of protesters who were barricaded in by

NYPD Officers and prevented from exiting the area. The NYPD Officers perched on the car swung

their batons at the heads of protesters standing below and dispersed pepper spray into the crowd,

as depicted in the photograph below:




        130.    NYPD Officers hit protesters indiscriminately and without provocation.

                NYPD Officers Indiscriminately Pepper Sprayed Protesters.

        131.    During the Protests, NYPD Officers engaged in a pattern or practice of using pepper

spray indiscriminately against protesters who were not posing a threat to any individual or actively

resisting arrest.

        132.    NYPD Patrol Guide Procedure Number 221-07, Use of Oleoresin Capsicum Pepper

Spray Devices, states that pepper spray shall not be used in situations that do not require the use

of force, including when an individual is merely passively resisting “(i.e., minimal physical action

to prevent a member from performing their lawful duty).”

        133.    Procedure 221-07 also instructs members of the service to “avoid discharging O.C.

pepper spray indiscriminately over a large area for disorder control.”




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        134.    Procedure 221-07 further instructs officers who use pepper spray against an

individual to render and request medical aid for them once the situation is under control.

        135.    In at least 30 incidents during the Protests, NYPD Officers used pepper spray

against protesters unlawfully and in violation of Patrol Guide 221-07.

        136.    Below are representative examples of this unlawful practice:

Andrew Smith

        137.    Andrew Smith participated in a protest in Brooklyn in the early evening of May 30.

        138.    Near the intersection of Bedford and Tilden Avenues in Brooklyn, an NYPD

Officer unjustifiably pepper sprayed Smith’s face.

        139.    Moments prior, the officer formed a “V” with other NYPD Officers around a police

car to clear its path through protesters.

        140.    As the car traveled north up Bedford Avenue, the NYPD Officer pushed and

verbally directed protesters to move back.

        141.    Over the course of three minutes, the NYPD Officer repeated, “Step back,” while

pushing with his extended arm about eight protesters positioned in front of the car, all of whom

appeared to be white. Some verbally objected to being touched but moved back out of the car’s

path.

        142.    When the NYPD Officer approached Smith, who is Black, Smith was standing out

of the car’s path with both arms in the air. The NYPD Officer turned to face Smith and pushed his

fist into Smith’s chest, causing Smith to take one step back.

        143.    Smith responded, “Don’t touch me,” but did not lower his arms, as shown in the

below image of the incident:




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       144.     Without further warning, and without provocation or justification, the NYPD

Officer reached his arm out, tore down Smith’s facemask, and dispersed pepper spray directly into

Smith’s face.

       145.     The NYPD Officer continued moving towards the intersection of Bedford and

Tilden Avenues, again pushing protesters away from the patrol car’s path.

       146.     At the intersection, the NYPD Officer twice pushed another Black protester, and,

as the man stumbled back, pepper sprayed his face.

       147.     As a result of being pepper sprayed, Smith suffered a severe burning sensation to

his eyes and face, exacerbation to eczema on the back of his neck that lasted for hours, and

difficulty removing and wearing contact lenses for at least a week after the incident.

       148.     Smith also suffered stress and fear that he had been exposed to COVID-19 when

the officer removed his facemask.

       149.     Smith and the second protester the NYPD Officer pepper sprayed were not arrested

or charged with any crime.




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       150.     Smith did not receive medical aid from any of the NYPD Officers who caused him

to be or witnessed him being pepper sprayed.

       151.     Body-worn camera footage captured the officer asking fellow officers whether they

used their pepper spray and bragging, “I took the guy’s goggles, I ripped the s--- off and I used it.”

Alan Williams

       152.     Alan Williams joined a protest on May 29 in front of Brooklyn’s Barclays Center.

At approximately 7:20 p.m., Williams witnessed an NYPD Officer disperse pepper spray four to

five times in a panoramic motion towards protesters who were standing immediately behind metal

barricades. These barricades separated the protesters from the NYPD Officers.

       153.     The pepper spray hit several protesters, including Williams, causing them to suffer

a temporary burning sensation to their skin and eyes.

       154.     There was no verbal warning or apparent provocation prior to the issuance of the

pepper spray by the NYPD Officer.

Senator Zellnor Myrie and Assembly Member Diana Richardson

       155.     On May 29, New York State Senator Zellnor Myrie and Assembly Member Diana

Richardson joined their constituents at the protests at Barclays Center in Brooklyn. When NYPD

Officers ordered protesters to move back, Senator Myrie, who was between a large crowd of

protesters and NYPD Officers, repeated the directive to the crowd.

       156.     As protesters began to comply, NYPD Officers pushed their bicycle frames against

the crowd, hitting Senator Myrie’s back and legs and Assembly Member Richardson’s lower

abdomen and legs.

       157.     As Senator Myrie explained to officers that the protesters were obeying directives,

an NYPD Officer pepper sprayed him in the face without provocation or justification, causing pain

and a burning sensation in his eyes. He was then wrongly placed under arrest.


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         158.   Around the same time, an NYPD Officer pepper sprayed Assembly Member

Richardson and protesters around her, causing blurring of her vision and substantial pain, and

knocked her to the ground.

         159.   The below image captures the resulting pain Senator Myrie suffered:




         160.   Although Senator Myrie was screaming in pain, NYPD Officers did not seek or

provide him with any medical treatment until one passing officer recognized him and ordered him

released from custody. Officers did not seek or provide any medical aid to Assembly Member

Richardson.

Laisa Pertet

         161.   On the night of May 30, Laisa Pertet joined other protesters in walking from

Barclays Center to the Flatbush Extension in Brooklyn.

         162.   There, without provocation or justification, several NYPD Officers pepper sprayed

Pertet and others as they were attempting to comply with the NYPD Officers’ directions to “go

home.”




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           163.   Two of the NYPD Officers also struck the retreating individuals with their batons

without provocation or justification.

           164.   Pertet experienced a burning sensation on her arm where she was hit with pepper

spray.

           165.   The NYPD Officers did not render or call for medical attention for any of those

whom they had struck and pepper sprayed and did not arrest any of them at that time.

Mass Pepper Spray on F.D.R.

           166.   On May 31, on the F.D.R. Drive in Manhattan, an NYPD Officer without

provocation or justification twice indiscriminately discharged pepper spray into Carlos Polanco

and a group of peaceful protesters who posed no threat and were separated from him by a concrete

barrier.




           167.   As a result of the NYPD Officer discharging the spray, Polanco and other protesters

behind the barrier feared and sustained injury.

           168.   The NYPD Officer did not seek or provide medical aid to any of the protesters he

pepper sprayed.



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               NYPD Officers Shoved and Punched Peaceful or Non-Resisting Protesters.

       169.    NYPD Officers engaged in a pattern or practice of shoving, punching, or otherwise

using their hands to strike persons who posed no threat to officers or others at the Protests.

       170.    NYPD Officers engaged in this unlawful practice of using unreasonable force

through pushing or striking protesters at least 75 times during the Protests.

       171.    Similarly, over a dozen times, NYPD Officers used unnecessary force while

arresting people who were not resisting, causing them to suffer pain and other physical injury.

       172.    Below are representative examples of this unlawful practice:

Dounya Zayer

       173.    On May 29, Dounya Zayer was attempting to film NYPD Officers clearing

protesters from Pacific Street in Brooklyn.

       174.    Without provocation or justification, and in front of the officer’s supervisor (a

Deputy Inspector), an NYPD Officer smacked Zayer’s phone out of her hand, causing the screen

to crack, called Zayer a “stupid fucking bitch,” and then shoved Zayer in the torso, causing her to

fall backwards and hit her head on the pavement. The image below shows the NYPD Officer

forcefully pushing Zayer to the ground:




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       175.      As a result, Zayer suffered a concussion and emotional distress, and she reported

being too frightened to attend later protests.

       176.      In response to this misconduct, the City suspended the NYPD Officer without pay

and he was charged with misdemeanor assault and other related offenses by the Kings County

District Attorney’s Office.

       177.      The Deputy Inspector, who witnessed and, in violation of NYPD procedures, did

not stop or report on the alleged assault was reassigned within the NYPD but, on information and

belief, was not disciplined.

Protester John Doe I

       178.      The same night, a lieutenant approached Protester John Doe I while he was

peacefully protesting and told him to get on the sidewalk.

       179.      Without providing time for Doe I to comply with the directive, and without

provocation, the lieutenant violently shoved him, knocking him a few feet back onto the sidewalk

and bruising his shoulder and elbow. The below image shows the lieutenant forcefully pushing the

protester:




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Jacqui Painter and Carlos Calzadilla-Palacio

       180.    Jacqui Painter and Carlos Calzadilla-Palacio were also part of a peaceful protest on

May 29, near the 88th Precinct stationhouse. A large group of NYPD Officers suddenly charged

and pushed their body shields into the crowd. The NYPD Officers were screaming “get back!” but

had not beforehand ordered the crowd to disperse. As the protesters dispersed, NYPD Officers

pushed protesters who were walking away without provocation or justification.

       181.    As Painter and Calzadilla-Palacio walked, as directed, on Dekalb Avenue, an

NYPD Officer yelled out that officers should “rip apart” a megaphone attached to Painter’s wrist.

Several NYPD Officers started to pull the megaphone away from Painter and, without provocation

or justification, forcefully shoved her and Calzadilla-Palacio to the ground. An NYPD Officer then

kicked Painter several times and struck Calzadilla-Palacio on the back of his head with a baton, as

he tried to help Painter rise from the ground and walk away. Calzadilla-Palacio immediately started

bleeding profusely and suffered from dizziness and disorientation. Painter suffered a large gash to

her knee and several scratches to her calf. Neither were arrested or charged with a crime.

Dorthley Beauval

       182.    On June 1, Dorthley Beauval was walking from a BLM protest in front of the Trump

Tower on Fifth Avenue toward West 56th Street and Broadway in Manhattan when an unmarked

police van pulled up beside him.

       183.    Multiple uniformed NYPD Officers exited the van onto the sidewalk, pulled

Beauval to the ground by his backpack, pinned him on his side, and, without provocation or

justification, repeatedly struck his face and body with fists. Beauval heard one NYPD Officer say

that he was going to “fuck him up.” He was then arrested.




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       184.    The NYPD Officers alleged that Beauval had been attempting to burglarize a

nearby store at a time when Beauval claimed that he was in fact protesting many blocks away.

Video surveillance of the allegedly burglarized store did not show Beauval in or near the store.

       185.    The force of the NYPD Officers’ takedown and fists broke Beauval’s glasses into

fragments that entered Beauval’s eyes and worsened his vision, scratched the bridge of his nose,

bruised his body in multiple areas, and caused a hematoma to develop on his arm. The attack also

aggravated Beauval’s anxiety and depressive conditions, causing him to withdraw from school.

Dennis Mullikin

       186.    On May 31, Dennis Mullikin was peacefully protesting in front of a then-stationary

line of NYPD Officers near 12th Street and Broadway in Manhattan.

       187.    Without warning or justification, the NYPD Officers charged Mullikin and nearby

protesters.

       188.    NYPD Officers forcibly pulled Mullikin to the ground and beat him, causing him

to suffer bruises, a split lip, a concussion, and emotional distress, including the exacerbation of

previous anxiety and depressive conditions. A photograph of his visible injuries the night of his

arrest is below:




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       189.    Mullikin was charged only with resisting arrest. Those charges were later dropped.

Protester John Doe II

       190.    On May 30, at Bedford and Tilden Avenues, an NYPD Officer approached a

protester (John Doe II), whose arms were being held by other officers. Without justification, the

NYPD Officer placed John Doe II in a chokehold, pressed back and down against the protester’s

neck, and slammed him onto the ground.

       191.    The protester, who was restrained and not resisting when he was thrown to the

ground, did not pose any threat to anyone.

Melanie Ryan

       192.    On June 3, NYPD Officers used excessive force to arrest Melanie Ryan at a Protest

near 51st Street and 3rd Avenue.

       193.    Just as the 8:00 p.m. curfew was to take effect, NYPD Officers lined up in front of

Ryan and other protesters who were chanting “Black Lives Matter” and “Hands up, don’t shoot.”

       194.    The NYPD Officers watched the protest continue until an hour later when they

suddenly began arresting the protesters.


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          195.   One NYPD Officer came up behind Ryan and swept her feet out from under her,

causing her to fall face first to the ground, where she landed on her forehead.

          196.   Five NYPD Officers then climbed onto her back, pinning her to the ground.

          197.   When Ryan turned her head, an NYPD Officer punched her three times in the eye,

causing a black eye.

          198.   When the NYPD Officers hit Ryan, she was not resisting or evading arrest, nor did

she pose any harm to the Officers or others. Ryan had not heard any order to disperse before her

arrest.

          199.   An NYPD Officer then restrained Ryan’s hands with excessively tight zip-ties,

restricting blood flow and circulation to her hands and causing them to appear blue and lose

feeling. NYPD Officers ignored Ryan’s complaints that her zip-ties were too tight. Ryan continued

to feel numbness in her thumb as a result of the overly-tight zip-ties weeks after her arrest.

          200.   As a result of being thrown to the ground, Ryan experienced dizziness, trouble

breathing, and occasional loss of consciousness. Despite fellow arrestees’ pleas to officers to

provide water or medical aid to Ryan in transit, no officer did so.

          201.   Ryan was charged only with violating the curfew order.

Rob Goyanes

          202.   Rob Goyanes was also at the June 4 Mott Haven protest. Beginning shortly before

the curfew took effect that evening, NYPD Officers kettled the protesters, including Goyanes,

preventing them from leaving the area. As soon as the curfew order took effect at 8:00 pm, NYPD

Officers ordered Goyanes and other protesters to disperse. However, due to the Officers’ kettling

tactics, the protesters had no means to do so.




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         203.   NYPD Officers encircled him and other protesters, and one Officer, without

warning or justification, slammed his riot shield into Goyanes several times, causing bruising on

his left arm.

         204.   Another NYPD Officer then, without provocation or justification, punched

Goyanes four times in the chest and ribs. An NYPD Officer then grabbed him by the hair and arms,

pulled him forward, and then restrained his hands with excessively tight zip-ties.

         205.   Goyanes asked another Officer to loosen the zip-ties because he felt his right hand

going numb, but the Officer refused, stating that she did not have the necessary tool to cut the

cuffs.

         206.   Approximately one hour later, Goyanes shifted his hands in his cuffs to relieve their

numbing effect.

         207.   In response and without justification, the Officer pulled sharply Goyanes’s zip-ties,

causing them to tighten and Goyanes to suffer additional pain. When Goyanes asked the Officer

why she tightened them, she stated, “Because you moved.”

         208.   Although Goyanes’s cuffs were eventually replaced with looser zip-ties, other

persons transported with him to the precinct complained of excessively-tight zip-ties that cut off

blood circulation and caused hand numbness. The transporting NYPD Officers ignored these

complaints and failed to comply with the NYPD’s procedure to periodically ensure that people

restrained with zip-ties were not suffering from a loss of circulation.

         209.   As a result of the excessively-tight zip-ties, Goyanes suffered numbness and pain

in his hands and wrists for several months after the protest. He subsequently has been diagnosed

with nerve damage.




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        210.    Goyanes was charged only by summons with violating the curfew. The summons

was later dismissed on motion of the Bronx District Attorney.

       V.       The NYPD Continued its Custom of Unlawfully Detaining and Arresting
                Individuals at the 2020 Racial Justice Protests.

        211.    NYPD Officers continued the Department’s practice of unlawfully detaining and

arresting protesters at the Protests.

        212.    NYPD Officers arrested or detained without legal justification hundreds of

protesters, legal observers, medics, and others at the Protests.

        213.    NYPD Officers repeatedly violated New York Residents’ constitutional rights and

applicable NYPD policies regarding crowd control and arrest procedure by arresting curfew-

exempt individuals; using kettling tactics, excessive force, and threats of force to detain peaceful

protesters; and detaining and arresting individuals without probable cause that they were engaged

in unlawful conduct.

        214.    Defendants had knowledge of NYPD Officers’ practice of violating its policies and

applicable legal standards during the Protests and previous protests yet failed to uniformly enforce

the policies.

        215.    Upon information and belief, Defendants have not disciplined the majority of the

NYPD Officers who unlawfully detained and arrested protesters and used excessive force at the

Protests.

                NYPD Officers Arrested Curfew-Exempt Individuals.

        216.    On Monday, June 1, Mayor de Blasio issued Emergency Executive Order 117 that

imposed an 11:00 p.m. curfew in New York City and announced that NYPD would double the

number of officers assigned to the protest.




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       217.    On June 2, Mayor de Blasio issued Emergency Executive Orders 118 and 119,

which expanded the hours of the curfew to from 8:00 p.m. until 5:00 a.m. each day until June 8.

       218.    These orders (the “Curfew Orders”) explicitly exempted “first responders and

emergency medical technicians, individuals travelling to and from essential work and performing

essential work.”

       219.    They further stated, “Failure to comply with this Order shall result in orders to

disburse [sic], and any person who knowingly violates the provisions in this Order shall be guilty

of a Class B misdemeanor.”

       220.    Legal observers are legal workers, law students, and lawyers trained by non-profit

organizations to observe and document police responses to protests.

       221.    Jail support entails the provision of food, water, transportation, and other necessary

resources to protesters upon their release from custody.

       222.    Mayor de Blasio, through his agents, acknowledged that the Curfew Orders

exempted legal observers, medics and jail support providers.

       223.    For example, on June 1, 2020, Amanda Wallwin, Chief of Staff for Assemblyman

Dan Quart, e-mailed Jenny Sobelman, Chief of Staff for the Mayor’s Office of State Legislative

Affairs, asking, “Are there any plans to exempt folks who are doing jail, legal and medical support

for arrested protesters?”

       224.    At 8:32 p.m. that day, Ms. Sobelman confirmed, “Yes. They are exempt from the

curfew.”

       225.    Later that day, Persephone Tan of the Mayor’s Office of City Legislative Affairs

wrote in an email that lawyers and non-lawyers supporting them were not subject to the curfew,

because they are “as essential as it gets.”




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       226.    Upon information and belief, Mayor de Blasio delegated authority to enforce this

Executive Order to Commissioner Shea and the NYPD.

       227.    The night of the first curfew, the NYPD issued an internal announcement, called a

“Finest Message,” instructing law enforcement personnel that they are to “issue reminders to

anyone observed violating the curfew that they are not allowed in public … [and to] direct them

to return to their homes or other private locations. Enforcement will only be taken after several

warnings are issued and the violator is refusing to comply. In that circumstance, a [criminal]-

summons may be issued for Admin. Cod 3-108, violating a Mayoral Emergency Order.”

       228.    On June 3, 2020, the NYPD circulated another Finest Message informing officers

about the expansion of the curfew, but omitting the previously included direction that officers

should issue warnings before making arrests. Instead, the message simply stated, “[i]f [Members

of Service] observe a person violating the curfew, a [criminal]-summons may be issued for . . .

violating a Mayoral emergency order.” This second Finest Message contradicts the Curfew Orders,

which specifically require that an order to disperse be made.

       229.    Throughout the Protests, NYPD Officers wrongly arrested individuals exempt from

the Curfew Orders, including legal observers, medics, jail support providers and other essential

workers.

Legal Observers

       230.    Legal observers have a constitutionally-protected right to monitor demonstrations.

       231.    In that same vein, NYPD Patrol Guide, Procedure Number 213-11 grants legal

observers “free access through police lines at the scene of any demonstration . . . subject only to

restrictions necessitated by personal safety factors.”

       232.    Patrol Guide Procedure Number 203-29 also recognizes all individuals have the

rights in public places to observe, photograph, and record police activity, “including, but not


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limited to detentions, searches, arrests or uses of force.” It forbids NYPD Officers from

discouraging, obstructing, or otherwise interfering with such activity.

          233.   Notwithstanding constitutional protections, the Curfew Orders’ stated exemptions

and the Patrol Guide, NYPD Officers arrested numerous essential workers for violating the Curfew

Orders.

          234.   The arresting officers knew or should have known that these individuals were

providing essential services at the time of their arrest and were engaging in constitutionally

protected activity.

          235.   Legal observers and individuals trained to provide medical assistance (“medics”)

were clearly identifiable to NYPD Officers at the time of their arrest for purported curfew

violations.

          236.   For instance, legal observers trained by the National Lawyers Guild, New York

City chapter wear bright neon green hats and an identification card on a lanyard that prominently

identifies them as a “Legal Observer” with the National Lawyers Guild, as shown below:




          237.   Legal observers from the National Lawyers Guild routinely monitored the Protests.




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       238.    On June 4, at around 8:00 p.m., on East 136th Street between Brook Avenue and

Brown Place in the Bronx, NYPD Officers unlawfully detained twelve National Lawyers Guild

legal observers for curfew violation as they were performing their legal observer duties.

       239.    The legal observers carried an Attestation of Essential Services, a document

affirming that they were volunteer legal observers exempt from the Curfew Orders and attaching

the June 1 emails between Wallwin and Sobelman.

       240.    Some legal observers showed this attestation or told the NYPD Officers who

detained them that they were legal observers.

       241.    NYPD Officers who detained the legal observers refused to review the attestation

or acknowledge that they were essential workers.

       242.    In one instance, NYPD Officers shoved a legal observer onto the side a car shortly

after ripping the attestation out of her hand.

       243.    A supervising officer directed NYPD Officers to “round up the green hats.”

       244.    A member of the NYPD’s Legal Bureau, who was supposed to ensure officers’

compliance with NYPD procedures and constitutional protections, incorrectly shouted to officers,

“Legal observers can be arrested. You’re good to go.” These legal observers were detained for

approximately 15 minutes, during which time they were prevented from documenting events that

took place during this protest.

       245.    Some legal observers were told to leave the area and others were physically pushed

back away from detainees, hindering their ability to record details of their arrest.

       246.    Upon information and belief, Chief Monahan, who was present and charged with

executing and supervising the NYPD’s operation at the Mott Haven protest, allowed the

interference with legal observers attempting to document police activity.




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         247.   In a published statement, the NYPD upheld the decision to arrest and interfere with

the work of legal observers, claiming they were not exempt from the curfew.

Medics
         248.   NYPD Officers also unlawfully arrested six medics performing essential services

at the June 4 Mott Haven protest.

         249.   Medics providing first aid kits and emergency aid to protesters at the June 4 Mott

Haven protest displayed hospital credentials, wore hospital scrubs, and marked their backpacks or

clothing with the internationally-recognized image of medical personnel, red crosses.

         250.   For example, NYPD Officers arrested Mike Pappas, a doctor serving as a medic at

the June 4 Mott Haven protest for curfew violation. An image of Dr. Pappas’s arrest, which shows

that he was wearing medical scrubs with a red cross, is below:




         251.   At 8:00 p.m., Dr. Pappas heard the police say to the crowd, “Unless you’re an

essential worker, you have to go home.” Two Officers then approached Dr. Pappas and another

medic Jillian Primiano, a nurse.




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       252.    Dr. Pappas explained that he and Primiano were acting solely as medics and offered

to move wherever directed by the Officers. One of the Officers stated, “No problem man, don’t

worry about it. Come with me.”

       253.    After Dr. Pappas and Primiano complied with the officer’s directions, Dr. Pappas

was arrested by this same Officer. Dr. Pappas was transported to the 40th Precinct stationhouse

and not released until over four hours later with a summons for violating the curfew.

       254.    Another Officer nearby detained Primiano, placed her hands behind her back, and

held up his handcuffs as if he was about to restrain her. However, upon observing Primiano’s

medical scrubs and hearing from Primiano that she was a nurse, the Officer who had detained her

released her with an order to leave the area.

       255.    Primiano and three other medics then assisted with administering first aid to injured

protesters until NYPD Officers ordered them to leave the area. Primiano and the others complied

with the Officers’ orders and walked to the 40th Precinct stationhouse to provide jail support where

she learned that additional medical assistance was needed at Queens Central Booking. As Primiano

and other medics attempted to enter a car to drive to Queens, an NYPD Officer stopped them and

asked who they were. Primiano responded that they were providing jail support and offered to

show them a letter substantiating that they were considered essential workers.

       256.    The NYPD Officer claimed not to know what jail support was and unlawfully

arrested Primiano and the three other jail support providers for violating curfew.

       257.    Like Dr. Pappas and Primiano, Dr. Marie DeLuca, an emergency medicine

physician and public health research fellow in New York City, attended the Mott Haven protest as

a street medic. She too was dressed in scrubs.




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       258.    Shortly before 8:00 p.m., at Brook Avenue and East 136th Street, Dr. DeLuca

witnessed the marchers being approached by a large number of NYPD Officers with batons.

       259.    Unable to move within the crowd because they “were so tightly packed together by

the police,” she attempted to provide aid to a man who had been pepper sprayed. However, she

was “grabbed by a male police officer and thrown to the ground.”

       260.    The NYPD Officer held her down and handcuffed her. He ignored Dr. DeLuca as

she attempted to show her hospital identification card and a letter she had documenting that her

role as a street medic was considered “essential” by the mayor’s office. Dr. DeLuca was charged

only with violating the curfew and released with a summons. The summonses issued to Dr.

DeLuca, Dr. Pappas, Primiano, the three other medics, and all other protesters who were charged

by summons only with a curfew violation and/or disorderly conduct during this protest were later

dismissed on motion of the Bronx District Attorney.

Other Curfew-Exempt Essential Workers

       261.    In addition to legal observers, medics, and jail support providers, NYPD Officers

also unlawfully detained and arrested at least six curfew-exempt essential workers, in transit to or

from their essential work.

Rayne Valentine

       262.    On the night of May 30, 2020, Rayne Valentine, a medical worker, had just finished

a shift at Kings County Hospital and was walking to a nearby subway station near the corner of

Flatbush and Church Avenues in Brooklyn. While en route, he saw at least six NYPD Officers

pursuing and then using physical force against another man.

       263.    Valentine recorded video of the NYPD Officers with his cell phone. Valentine did

not see what precipitated the incident, but did witness the Officers grab the man and push him

against a car. They then pushed him to the ground and started kicking him.


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       264.    As Valentine was filming, one Officer approached him, and while swinging his

baton, yelled, “Get back, get back!” Valentine began walking backwards and can be heard on

video saying, “I am moving back!”

       265.    Suddenly, and without warning, the Officer charged at Valentine, pushed him to

the ground and repeatedly struck and kicked him. Valentine’s phone was knocked to the ground

due to this commotion. Valentine tried to get the Officer to stop, telling him that he was just “trying

to get home.” An Officer standing nearby replied: “You picked the wrong time to do that.”

       266.    Multiple NYPD Officers hit and kicked Valentine, preventing him from entering

the subway. After approximately 90 seconds, the beating abruptly stopped, the NYPD Officers

walked away and threw Valentine’s phone in his direction.




       267.    Following the incident, Valentine was admitted to Kings County Hospital where he

received staples to close a wound on his head.




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Zuleyka Morales

        268.    On June 2, 2020, Zuleyka Morales, an overnight security guard, participated in an

afternoon protest in Manhattan. Following the protest, Morales began walking to her work in the

Financial District in Manhattan. Morales wore a badge around her neck that was distributed by a

governmental agency that identified her as an essential worker.

        269.    At around 7:49 p.m., Morales saw a large police presence, including police in riot

gear at the intersection of West Street and Morris Street. Morales noticed that the police were using

significant force against protesters and bystanders, and she decided to take out her cell phone to

record their behavior.

        270.    As soon as she pressed record, Morales felt someone come from behind her and

attack her, throwing her to the ground. While on the ground, she saw a NYPD Officer with three

stripes on his sleeve, indicating the rank of sergeant, trying to physically restrain her.

        271.    Morales told the sergeant that she was an essential worker and tried to hold up her

badge around her neck to show that she was en route to work. Despite this plea, this sergeant and

approximately at least two other NYPD Officers struck her head against the sidewalk and street

multiple times. While she was on the ground, at least one Officer obstructed her breathing by

kneeling on her back and neck, so she said, “I can’t breathe.” Morales repeated this several times

and feared for her life.

        272.    Moments later, at approximately 8:18 p.m., Morales was restrained with zip-ties.

She was not told why she had been arrested. Morales was then transported to Brooklyn for arrest

processing along with other arrested protesters. She arrived at a Brooklyn arrest processing facility

at around 9:00 p.m. and waited in line for approximately two hours before being processed. At

approximately 11:30 p.m., Morales lost consciousness and was transported by ambulance to a




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hospital where she was diagnosed her with hematoma of the head and bruising. The image below

shows Morales’s injuries:




       273.    Morales remained in the hospital until 1:15 a.m. She then was transported back to

police custody and was released the following morning with only a criminal summons for violating

the curfew.

               NYPD Officers Engaged in Unlawful Detention and False Arrests.

       274.    Throughout the time the Curfew Orders were in effect, and beyond, NYPD Officers

engaged in an unlawful practice of kettling or corralling protesters without providing them an

opportunity to disperse and thereafter making mass arrests of protesters without probable cause.

       275.    As described above, the NYPD should have “issue[d] reminders to anyone

observed violating the curfew that they are not allowed in public … [and] direct[ed] them to return

to their homes or other private locations” prior to enforcement.




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       276.    On June 3 and June 4, Mayor de Blasio confirmed at press conferences that the

NYPD would be “flexible” and that protests that were “scrupulously peaceful” could continue

after the curfew unless officers ordered the protesters to disperse.

       277.    Despite these clear directives, the NYPD engaged in a pattern or practice whereby

NYPD Officers surrounded peaceful protesters, blocking them from leaving an area and preventing

them from complying with dispersal orders. This practice often involved:

         a. The use of indiscriminate, excessive force;

         b. Mass unlawful arrests of peaceful, non-resisting protesters;

         c. Mass unlawful detention and arrests of protesters who were not given an opportunity

              to disperse from protest zones; and/or

         d. The overall quashing of peaceful protests.

       278.    On June 5, Mayor de Blasio defended kettling, saying that its use was justified

during the Protests.

June 2, Manhattan Bridge

       279.    On June 2, at around 8:00 p.m., a group of approximately 1,000 protesters marched

from the Barclays Center through Downtown Brooklyn to the Manhattan Bridge. At around 8:20

p.m., several hundred NYPD Officers confronted the protesters at the entrance to the Bridge.

       280.    This group hoped to continue their march across the Bridge to Manhattan. As

protesters crossed the bridge, they learned that the Manhattan exit was blocked by NYPD Officers.

When protesters tried to retreat to the Brooklyn entrance, NYPD Officers blocked that side as well,

and the protesters were trapped.




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       281.    NYPD Officers detained protesters in this manner for nearly two hours, as shown

in the below image:




       282.    Multiple protesters did not hear any dispersal order from NYPD Officers, nor did

they see any apparent provocation before this kettling occurred.

       283.    Protesters who did hear a dispersal order were not given a meaningful opportunity

to disperse because NYPD Officers blocked protesters from moving.

       284.    After more than two hours, elected officials helped broker a deal whereby NYPD

Officers let protesters exit the Bridge from the Brooklyn side.

       285.    As a result of the NYPD Officers’ actions, hundreds of peaceful protesters were

wrongly detained for hours.

June 3, Downtown Brooklyn (Cadman Plaza)

       286.    On June 3, a group of approximately 400 protesters who were marching north

towards Manhattan arrived in Downtown Brooklyn, specifically Cadman Plaza, at around 8:20

p.m. Upon arrival, they were met with a heavy NYPD presence.


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          287.   At approximately 8:38 p.m., protesters realized they were flanked by police on both

sides and could neither continue north towards the Brooklyn Bridge, nor retreat to the south.

          288.   Protest organizers then tried to negotiate with NYPD Officers to allow for

protesters to safely exit the protest zone. During this time, the march was at a standstill.

          289.   Following 10 to 15 minutes of unsuccessful negotiations, NYPD Officers

surrounding the protesters started pushing into protesters with riot shields and batons. Because

protesters were flanked by NYPD Officers on both sides, they had nowhere to go.

          290.   At around 9:00 p.m., several NYPD Officers charged into the crowd from both

sides and began using force against protesters who were actively trying to disperse. NYPD Officers

yelled at protesters to “Get back!” but due to the kettling, protesters could not move.

          291.   Many protesters did not hear a dispersal warning before NYPD Officers rushed the

crowd.

          292.   Protesters who did not hear a dispersal order were not given a meaningful

opportunity to comply because NYPD Officers blocked them from leaving the area.

          293.   Without   apparent    provocation,    NYPD     Officers    began    using     violence

indiscriminately while making arrests of protesters who were unable to disperse from the protest

zone.

          294.   NYPD Officers unjustifiably struck the heads and backs of multiple protesters with

batons.

          295.   NYPD Officers also kicked, elbowed, shoved, and pushed protesters.

June 3, Midtown Manhattan

          296.   On June 3, a large demonstration was held in the Upper East Side neighborhood

beginning at 7:00 p.m.




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          297.   Upon the conclusion of the demonstration at 7:45 p.m., protesters began marching

south towards Gracie Mansion—Mayor de Blasio’s residence.

          298.   This march was largely peaceful with protesters chanting, carrying signs, and taking

a knee.

          299.   Shortly before 9:00 p.m., protesters at East 54th Street and Third Avenue noticed

that they were flanked on all sides by NYPD Officers.

          300.   NYPD Officers blocked protesters with their bicycle frames from leaving the

protest zone.

          301.   Within minutes, dozens of NYPD Officers charged into protesters from all sides

and used excessive force while making unlawful arrests.

          302.   One protester asked NYPD Officers how they could leave the protest zone. In

response, NYPD Officers hit the protester with batons, held him to the ground and arrested him.

          303.   NYPD Officers struck another protester’s legs with batons even though she posed

no threat to the Officers as she was actively trying to comply with their orders by fleeing the protest

zone.

June 4, South Williamsburg

          304.   On June 4, beginning at 7:00 p.m., approximately 1,000 protesters gathered at

McCarren Park in Brooklyn to honor lives lost to police violence.

          305.   Following the vigil, about 400 protesters marched south through Williamsburg.

          306.   At around 8:45 p.m., at Penn and Wythe Avenues, NYPD Officers blocked the

protest’s path with their bicycle frames.

          307.   Many protesters did not hear any instruction to disperse or warning that the Curfew

Orders would be enforced with arrests.




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       308.    Instead, NYPD Officers gave contradictory instructions. One yelled, “Run!”

causing a stampede in one section of the protest, while another yelled, “Get back!” though the

protesters were flanked by NYPD Officers and had nowhere to retreat.

       309.    Then, without provocation NYPD Officers began to rush the crowd,

indiscriminately throwing protesters to the ground, beating them with batons, and arresting them.

       310.    One protester was attempting to flee the area when she was pepper sprayed, and

then arrested by NYPD Officers.

       311.    An NYPD Officer threw one protester to the ground with such force that their cell

phone and personal belongings spilled out of their pockets and backpack. When they asked the

NYPD Officer who had apprehended them for their phone, the Officer replied, “No, that’s what

you get” and stepped on their cell phone.

       312.    Another NYPD Officer then struck the protester’s head with a baton while another

officer handcuffed the protester. At no point did the protester resist arrest.

       313.    One protester was apparently hit on the head from behind by NYPD Officers. This

protester was knocked unconscious, and multiple bystanders observed that this protester was

bleeding from the head. Multiple NYPD Officers passed by the protester and failed to offer medical

assistance.

       314.    When this protester was later transported to the hospital, he received several stitches

to wounds on his head.

June 4, South Bronx

       315.    A rally and march against anti-Black police brutality was held on June 4 in the Mott

Haven neighborhood of the South Bronx.

       316.    The rally started at approximately 7:10 p.m. near the intersection of East 149th

Street and Brook Avenue with about 400 people in attendance.


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       317.     Those present at the rally observed a large presence of NYPD Officers,

disproportionate to the number of protesters present. At least 100 NYPD Officers from multiple

units were present, including personnel from the Legal Bureau, Technical Assistance Response

Unit and SRG.

       318.     Many of the SRG officers appeared in full riot gear, including external Kevlar vests,

helmets, and forearm plates.

       319.     Chief Monahan was also present, personally participated and directed NYPD

Officers to make multiple unlawful arrests, and upon information and belief, witnessed officers

engage in excessive force against protesters.

       320.     At around 7:20 p.m., the march began and started to move southwest.

       321.     At approximately 7:45 p.m., the march came to a halt on the corners of East 136th

Street and Brook Avenue.

       322.     At this time, a number of protesters observed that they were flanked by rows of

NYPD Officers and were not able to move forward or backwards. Protesters observed a layer of

NYPD Officers on bicycles blocking their path, and another layer of NYPD Officers with vehicles

behind them.

       323.     Simultaneously, multiple people in the intersection—including people who were

en route to their homes and were not protesting—began to ask NYPD Officers whether they could

go home or otherwise leave the protest zone. NYPD Officers refused to make space and allow

individuals to safely disperse.

       324.     Protesters reported that an automated dispersal message was played while they were

trapped at 8:00 p.m. After this message was played, however, protesters were not given a




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meaningful opportunity to disperse because NYPD Officers blocked protesters from leaving the

area or moving on all sides.

       325.     NYPD Officers then unlawfully arrested over 250 individuals for violation of the

curfew and disorderly conduct.

       326.     The majority of arrests were made between 8:00 p.m. and 9:00 p.m. No protesters

observed any provocation directed at NYPD Officers before these mass arrests began.

       327.     Upon information and belief, NYPD Officers lacked probable cause for these mass

detentions and arrests. Protesters were detained before the commencement of the curfew; made to

violate the curfew due to NYPD Officers blocking them from moving forwards or backwards; and

then subsequently arrested. NYPD Officers did not question protesters about their conduct, order

them to disperse, or otherwise allow protesters to comply with the Curfew Orders prior to these

mass arrests.

       328.     On September 3, Bronx District Attorney Darcel Clark filed a motion to dismiss all

312 summonses issued during this protest for disorderly conduct and violating the Curfew Orders,

which was granted by the Criminal Court of the City of New York.

       329.     NYPD Officers used excessive force by pushing and kicking protesters to the

ground, shoving them, and hitting them with batons on their arms, shoulders, and heads while

making arrests, even though these protesters were not resisting arrest.

       330.     NYPD Officers used their bicycles as weapons to push back protesters who

attempted to leave the protest zone with significant force and without provocation.

       331.     NYPD Officers indiscriminately used pepper spray against groups of protesters and

hit protesters with batons while making arrests.




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       332.     NYPD Officers failed to render medical care to protesters who were injured by this

use of force.

       333.     One protester was thrown onto the street by an NYPD Officer as he was being

arrested. The force crushed the protester’s glasses and caused his protective mask to slip off his

face. An NYPD officer then put their knee on his neck, while another NYPD Officer handcuffed

this protester with zip-ties. Meanwhile, blood streamed down this protester’s face and shirt. The

next day, the protester received medical attention and learned that the NYPD Officers broke his

nose when they slammed him to the ground.

       334.     Despite the mass arrests and injuries to numerous protesters, Commissioner Shea

said that the NYPD “had a plan which was executed nearly flawlessly.”

Post-Election Protest Kettling

       335.     On November 4, NYPD Officers employed kettling at protests near Washington

Square Park and Union Square. Protesters gathered at Washington Square Park initially marched

east towards Broadway and were forced to turn around by NYPD Officers and march back along

East 8th Street. As marchers crossed Sixth Avenue down Greenwich Avenue, at approximately

8:15 p.m., dozens of NYPD Officers on foot, bicycle and motorcycles separated the protesters,

trapping a group between Fifth and Sixth Avenues on West 8th Street and another group on

Greenwich Avenue. The protesters did not hear an order to disperse prior to the kettling. After

detaining the groups for approximately five minutes, NYPD Officers began arresting some of the

trapped protesters.

       336.     For example, within minutes of being kettled on Greenwich Avenue, a man serving

as a medic’s aide, was tackled by an NYPD Officer as he was attempting to help a medic who was

also tackled by police. The NYPD Officer punched his head, upper cheek bone, and jaw, causing

his mouth to bleed and knocking out his molar tooth. He was arrested and placed in overly-tight


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zip-cuffs. He suffered dizziness and nausea after his arrest, as well as pain and swelling from

overly-tight zip-cuffs.

       337.       Another protest originating near Central Park also arrived near Union Square at

around 9:30 p.m. Police followed marchers to Union Square without incident until, at East 14th

Street and Fourth Avenue, NYPD Officers on bicycles suddenly veered diagonally, in front of

protesters, blocking the marchers with no apparent provocation or justification.

       338.       NYPD Officers then played a prerecorded announcement directing the crowd to

disperse and not to block the roadway. As protesters were complying with the order and moving

to the sidewalk, NYPD Officers rushed protesters, including those on the sidewalk, and began

arresting them.

       339.       An NYPD Officer yanked protester Alexandra Crousillat by her backpack as she

was filming the arrests from the sidewalk and slammed her to the ground. After she curled into a

fetal position on the ground, NYPD Officers began to hit her, yelling at her to “Stop doing that,”

“Put your hands where I can see them,” and “I’m recording you resisting arrest!” The Officers

pushed Crousillat’s face down into the sidewalk, eventually dragged and lifted her from the ground

while pulling her hair, and placed zip-cuffs on her left wrist and above her right wrist overly tight,

causing her to lose feeling in her right hand and forearm until the cuffs were removed. She

experienced tingling in her right arm and hand for weeks thereafter. The NYPD Officers’ beating

caused the protester to suffer pain and bruising on her right cheekbone, upper left thigh, knees,

arms, and legs.

       340.       Upon information and belief, NYPD Officers continued to use their bicycles to

aggressively push back and surround peaceful protesters on November 5.




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                                     CLAIMS FOR RELIEF

                                            FIRST CLAIM

                            42 U.S.C. § 1983 for Violations of
     the Fourth and Fourteenth Amendments - Excessive Force against All Defendants

       341.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       342.    The Fourth and Fourteenth Amendments protect individuals against the

unreasonable use of police force, both before and during seizure. Graham v. Connor, 490 U.S.

386, 394 (1989); Edrei v. Maguire, 892 F.3d 525, 540 (2d Cir. 2018). These amendments are

binding on municipalities. City of Ontario v. Quon, 560 U.S. 746, 750 (2010).

       343.    Defendants have implemented, enforced, encouraged, sanctioned and/or ratified

policies, practices and/or customs of using various forms of excessive force when policing the

Protests in violation of the Fourth and Fourteenth Amendments, including through (a) the failure

to adequately and properly screen, train, and supervise NYPD Officers; (b) the failure to properly

and adequately monitor and discipline NYPD Officers; and (c) the overt and tacit encouragement

and sanctioning of, and the failure to rectify the NYPD’s practice of using excessive force before

and at the Protests.

       344.    The aforementioned policies, practices, and customs include, but are not limited to,

the following unconstitutional practices:

           a. indiscriminately inflicting pepper spray and baton, bicycle, and body strikes as

               crowd control tactics;

           b. using potentially deadly force, such as baton strikes to the head, to respond to

               peaceful protesters or non-lethal threats;

           c. using kettling to corral, trap, and unlawfully arrest, detain, and using excessive



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                 force against perceived participants in peaceful assemblies without adequate notice

                 or opportunity to disperse; and

           d. using unreasonably tight plastic zip-ties to effect mass arrests without adequate

                 monitoring of or response to complaints by detainees, resulting in the loss of

                 circulation, nerve damage, and other injuries to detainees’ wrists and arms, and

                 failing to make readily available to NYPD Officers tools that can safely remove

                 zip-ties.

       345.      As a result of these policies, practices and customs, New York Residents were

deprived of their liberty, property, and constitutional rights and experienced bodily injury, pain

and suffering.

       346.      Defendants have repeatedly had notice that NYPD Officers’ training and

supervision were inadequate and likely to result in constitutional violations based on hundreds of

incidents of excessive force at large-scale protests within the last two decades, as documented in

reports, lawsuits, and CCRB complaints.

       347.      Defendants have acted with deliberate indifference to the Fourth and Fourteenth

Amendment rights of New York Residents. Defendants’ acts and omissions have directly and

proximately violated the Fourth and Fourteenth Amendment Rights of New York Residents. By

acting under the color of state law to deprive New York Residents of their rights under the Fourth

Amendment, Defendants violated 42 U.S.C. § 1983.

       348.      There is a real and immediate threat that the NYPD will continue to use excessive

force against New York Residents in the future because the Protests continue, the NYPD has

repeatedly used such force at the Protests, and large-scale protests in New York City are likely to

re-occur in the future.




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       349.    New York Residents have no adequate remedy at law and will suffer serious and

irreparable harm to their constitutional rights unless Defendants are enjoined from continuing the

NYPD’s policy, practice, and/or custom of the unconstitutional use of excessive force and the

policies, practices, and/or customs that have directly and proximately caused such abuses.

                                        SECOND CLAIM

                            42 U.S.C. § 1983 for Violations of
              the Fourth Amendment – Unlawful Seizure against All Defendants

       350.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       351.    The Fourth Amendment protect individuals from unlawful detention and arrest.

Savino v. City of New York, 331 F.3d 63, 75 (2d Cir. 2003).

       352.    Defendants have implemented, enforced, encouraged sanctioned, and/or ratified

policies, practices, and/or customs of effectuating unlawful detentions and arrests against protest

attendees in violation of the Fourth Amendment, including through (a) the failure to adequately

and properly screen, train, and supervise NYPD Officers; (b) the failure to properly and adequately

monitor and discipline NYPD Officers; and (c) the overt and tacit encouragement and sanctioning

of, and the failure to rectify, the NYPD’s practice of making unlawful detentions and arrests before

and at the Protests and other prior demonstrations.

       353.    The aforementioned policies, practices, and customs include, but are not limited to,

the following unconstitutional practices:

           a. failing to ensure that constitutionally meaningful and adequate dispersal orders and

               opportunities to disperse are given prior to effecting arrests in connection with

               peaceful assemblies;

           b. arresting people without ensuring that constitutionally sufficient notice and



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                 opportunity to disperse were given;

           c. arresting groups of protesters without probable cause; and

           d. using kettling to corral and trap perceived participants of peaceful assemblies.

       354.      As a result of these policies, practices and customs, New York Residents were

deprived of their liberty, property, and constitutional rights and experienced bodily injury, pain

and suffering.

       355.      Defendants have repeatedly had notice that NYPD Officers’ training and

supervision were inadequate and likely to result in constitutional violations based on hundreds of

incidents of false arrest at large-scale protests within the last two decades, as documented in

reports, lawsuits, and CCRB complaints.

       356.      Defendants have acted with deliberate indifference to the Fourth Amendment rights

of New York Residents. Defendant’s acts and omissions have directly and proximately violated

the Fourth Amendment Rights of New York Residents. By acting under the color of state law to

deprive New York Residents of their rights under the Fourth Amendment, Defendants violated 42

U.S.C. § 1983, which prohibits under color of state law the deprivation of rights secured by the

United States Constitution.

       357.      There is a real and immediate threat that the NYPD will continue to unlawfully

detain and arrest New York Residents in the future because the Protests continue, the NYPD has

repeatedly made such unlawful detentions and arrests at the Protests, and large-scale protests in

New York City are likely to re-occur in the future.

       358.      New York Residents have no adequate remedy at law and will suffer serious and

irreparable harm to their constitutional rights unless Defendants are enjoined from continuing the

NYPD’s policy, practice, and/or custom of unconstitutional and unlawful arrest and detention as




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well as the policies, practices and/or customs that have directly and proximately caused such

abuses.

                                          THIRD CLAIM

                                 42 U.S.C. § 1983 for Violations of
                           the First Amendment against All Defendants

          359.   Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

          360.   The First Amendment protects the free expression of protected speech and the

rights to peaceably assemble and associate. Dorsett v. County of Nassau, 732 F.3d 157, 160 (2d

Cir. 2013); Jones v. Parmley, 465 F.3d 46, 56 (2d Cir. 2006). It also protects the right to gather

information, including the right to record police activity. See First Nat'l Bank of Boston v. Bellotti,

435 U.S. 765, 783 (1978); Higginbotham v. City of New York, 105 F. Supp. 3d 369, 379 (S.D.N.Y.

2015).

          361.   Defendants have implemented, enforced, encouraged, and sanctioned and/or

ratified policies, practices, and/or customs of punishing conduct of protest attendees protected by

the First Amendment in retaliation for, and in order to prevent them from further, exercising those

rights, including through: (a) the failure to adequately and properly screen, train, and supervise

NYPD Officers; (b) the failure to properly and adequately monitor and discipline NYPD Officers;

and (c) the overt and tacit encouragement and sanctioning of and the failure to rectify, the NYPD’s

practice of chilling conduct protected by the First Amendment at the Protests.

          362.   The aforementioned policies, practices, and customs include, but are not limited to,

the following unconstitutional practices:

             a. restricting peaceful assemblies and the expression of protected speech; and

             b. restricting the ability of legal observers to monitor and report on police conduct.



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        363.     As a result of these policies, practices and customs, New York Residents were

deprived of their liberty, property, and constitutional rights and experienced bodily injury, pain

and suffering.

        364.     Defendants have repeatedly had notice that NYPD Officers’ training and

supervision were inadequate and likely to result in constitutional violations based on complaints

of First Amendment violations at large-scale protests within the last two decades, as documented

in reports, lawsuits, and CCRB complaints.

        365.     Defendants have acted with deliberate indifference to the First Amendment rights

of New York Residents. Defendant’s acts and omissions have directly and proximately chilled and

thus violated the First Amendment Rights of New York Residents. By acting under the color of

state law to deprive New York Residents of their rights under the First Amendment, Defendants

violated 42 U.S.C. § 1983, which prohibits the deprivation under color of state law of those rights

secured by the United States Constitution.

        366.     There is a real and immediate threat that the NYPD will continue to chill the

protected speech of New York Residents in the future because the Protests continue, the NYPD

has repeatedly used such tactics at the Protests, and large-scale protests in New York City are

likely to re-occur in the future.

        367.     New York Residents have no adequate remedy at law and will suffer serious and

irreparable harm to their constitutional rights unless Defendants are enjoined from continuing the

NYPD’s policy, practice, and/or custom of the unconstitutional chilling of protected speech;

interference with the right to monitor and record police activity; and the policies, practices, and/or

customs that have directly and proximately caused such abuses.

                                        FOURTH CLAIM

                 New York State Constitution – Article I, § 12 (Excessive Force)


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                                      against All Defendants

       368.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       369.    NYPD Officers used unjustified and excessive force against New York Residents

at the Protests, in violation of Section 12 of Article 1 of the New York State Constitution.

       370.    The NYPD’s unconstitutional abuses and violations were, and are, directly and

proximately caused by policies, practices and/or customs devised, implemented, enforced,

encouraged and/or sanctioned by Defendant.

       371.    As a result of these abuses, New York Residents were deprived of their liberty,

property, and constitutional rights and also experienced bodily injury, pain, and suffering.

       372.    In using excessive force against New York Residents at the Protests, NYPD

Officers were acting within the scope of their employment. Defendant City of New York, as the

employer of NYPD Officers, is responsible for the wrongdoing of NYPD Officers under the

doctrine of respondeat superior.

                                          FIFTH CLAIM

               New York State Constitution – Article I, § 12 (Unlawful Seizure)
                                 against All Defendants

       373.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       374.    NYPD Officers seized New York Residents who were present at the Protests

without the reasonable articulable suspicion of criminality required by Section 12 of Article 1 of

the New York State Constitution.

       375.    The NYPD’s unconstitutional abuses and violations were, and are, directly and

proximately caused by policies, practices and/or customs devised, implemented, enforced,



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encouraged and/or sanctioned by Defendant.

       376.    As a result of these abuses, New York Residents were deprived of their liberty,

property, and constitutional rights.

       377.    In unlawfully seizing New York Residents at the Protests, NYPD Officers were

acting within the scope of their employment. Defendant City of New York, as the employer of

NYPD Officers, is responsible for the wrongdoing of NYPD Officers under the doctrine of

respondeat superior.

                                          SIXTH CLAIM

               New York State Constitution – Article 1, § 8 (Freedom of Press)
                                 against All Defendants

       378.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       379.    While New York Residents were engaged in speech, expressive conduct, or press

reporting – all rights secured by the New York State Constitution – NYPD Officers infringed upon

such constitutionally-protected activity and retaliated against those New York Residents engaged

in such conduct by assaulting, battering, and/or detaining them.

       380.    Legal observers engaged in fact gathering during the Protests were not threatening

public safety or interfering with lawful police action. Yet, without legal justification, NYPD

Officers used physical force and detention to prevent and deter legal observers from monitoring,

recording, and reporting on police activity at the Protests.

       381.    NYPD Officers’ acts would chill a reasonable person, and did in fact chill New

York Residents, from continuing to participate in, observe, record, and report on the Protests.

       382.    By attempting to prevent and retaliating against New York Residents for

participating in, observing, recording, and reporting on the Protests, NYPD Officers deprived New



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York Residents of rights secured by Section 8 of Article 1 of the New York State Constitution.

       383.    The NYPD’s unconstitutional abuses and violations were, and are, directly and

proximately caused by policies, practices and/or customs devised, implemented, enforced,

encouraged and sanctioned by Defendant.

       384.    In suppressing and retaliating against speech, expression, and press at the Protests,

NYPD Officers were acting within the scope of their employment. Defendant City of New York,

as the employer of NYPD Officers, is responsible for the wrongdoing of NYPD Officers under the

doctrine of respondeat superior.

                                       SEVENTH CLAIM

                       Assault under the Laws of the State of New York
                                   against All Defendants

       385.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       386.    As a result of the foregoing, New York Residents were placed in apprehension of

imminent harmful and offensive bodily contact without privilege or consent.

       387.    As a result of NYPD Officers’ tortious conduct, New York Residents suffered

physical injury and mental anguish.

       388.    NYPD Officers assaulted New York Residents at the Protests while acting within

the scope of their employment. Defendant City of New York, as the employer of NYPD Officers,

is responsible for the wrongdoing of NYPD Officers under the doctrine of respondeat superior.

                                        EIGHTH CLAIM

                       Battery under the Laws of the State of New York
                                   against All Defendants

       389.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.


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       390.    NYPD Officers made offensive contact with New York Residents at the Protests

without privilege or consent.

       391.    As a result of NYPD Officers’ tortious contact, New York Residents suffered

physical injury and mental anguish.

       392.    NYPD Officers battered New York Residents at the Protests while acting within

the scope of their employment. Defendant City of New York, as the employer of NYPD Officers,

is responsible for the wrongdoing of NYPD Officers under the doctrine of respondeat superior.

                                         NINTH CLAIM

          False Arrest and Imprisonment under the Laws of the State of New York
                                  against All Defendants

       393.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       394.    NYPD Officers unlawfully seized New York Residents at the Protests, wrongfully

detaining and confining them without privilege or consent.

       395.    NYPD Officers falsely imprisoned New York Residents. Defendants are

responsible for the wrongdoing of NYPD Officers under the doctrine of respondeat superior.

                                         TENTH CLAIM

                       Negligence under the Laws of the State of New York
                                     against All Defendants

       396.    Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       397.    In instances where NYPD Officers owed a special duty of care to New York

Residents whom they injured or whom they witnessed being injured by other NYPD Officers, they

violated this special duty by failing to intervene to prevent injury, and by failing to seek and/or

provide medical aid.


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       398.     NYPD Officers’ negligent failure to intervene and seek and/or provide medical aid

to New York Residents injured at the Protests proximately caused those individuals further injury.

       399.     NYPD Officers did not have discretion to deny medical aid to New York Residents

injured by NYPD Officers at the Protests. The NYPD Patrol Guide Procedure Number 221-02

requires NYPD Officers to “ensure [that an injured or ill] subject receives proper medical

attention” and to “[e]nsure subject receives immediate medical attention and provide first aid, if

appropriate and properly trained, if subject is having difficulty breathing or demonstrates

potentially life-threatening symptoms or injuries.”

       400.     Defendants are responsible for the wrongdoing of NYPD Officers under the

doctrine of respondeat superior.

                                        ELEVENTH CLAIM

                          Negligent Supervision, Retention and Training
                                     against All Defendants

       401.     Plaintiff incorporates by reference the allegations set forth in paragraphs numbered

“1” through “340” as if fully set forth herein.

       402.     Defendants failed to use reasonable care in the training and supervision of the

NYPD Officers who assaulted, battered, falsely imprisoned, and/or negligently injured New York

Residents during the Protests.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court:

       A. Issue an order holding unlawful, vacating, and setting aside the Defendants’ policies

              or practices of employing excessive force and false arrests, suppressing free

              expression and press reporting, and retaliating against New York Residents who

              participate in the 2020 Racial Justice Protests;



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B. Declare that Defendants’ acts and omissions are unconstitutional under the United

     States Constitution, the New York State Constitution, and New York state tort law;

C. Enjoin Defendants and all their officers, employees, and agents, and anyone acting in

     concert with Defendants, from implementing, applying, or taking any action

     whatsoever under its unconstitutional policies or practices of employing excessive

     force, false arrests, and retaliatory tactics against New York Residents who participate

     in the 2020 Racial Justice Protests in the form of an order requiring Defendants to take

     all affirmative steps, including changing policies, conducting training, and undergoing

     monitoring, among others, to ensure that Defendants: (i) achieve compliance with the

     United State Constitution, New York State Constitution, and state tort law in policing

     protests; (ii) eliminate ongoing unlawful policing practices and their effects, and (iii)

     prevent this unlawful conduct in the future;

D. Award Plaintiff its reasonable fees, costs, and expenses, including attorneys’ fees; and

E.   Grant such other and further relief as the Court deems just and proper.




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DATED: January 14, 2021              Respectfully submitted,

                                     LETITIA JAMES
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